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                         UNITED STATES BANKRUPTCY COURT
                                        FOR THE
                            DISTRICT OF MASSACHUSETTS

*******************************
In Re:                        *
                              *             Chapter 7
Barry Wisner Chapin           *             Case No. 20-10324
       Debtor                 *
*******************************

                                 CERTIFICATE OF SERVICE

        I, Ellen A. Shapiro, attorney for the Board of Trustees of 32-34 Fairfield Street
Condominium Trust hereby certify that on April 15, 2020, I electronically filed the foregoing
Notice of Appearance and Request for Service with the United States Bankruptcy Court of the
District of Massachusetts using the CM/ECF System. I served the foregoing documents on the
following CM/ECF participants:

David G. Baker, Esquire on behalf of the Debtor at david@bostonbankruptcy.com
Christopher M. Condon, Esquire on behalf of Harold B. Murphy at ccondon@murphyking.com
Kathleen R. Cruickshank, Esquire on behalf of Harold B. Murphy at
kcruickshank@murphyking.com
Elizabeth Dailey, Esquire on behalf of Freedom Mortgage Corporation at bd@dgandl.com
Kevin Gaughen, Jr., Esquire on behalf of Hingham Institute for Savings at
kevingaughenjr@gaughenlane.com
Dean Lennon, Esquire on behalf of Carlton Gardens Condominium at dlennon@meeb.com
Reneau J. Longoria, Esquire on behalf of Freedom Mortgage Corporation at rjl@dgandl.com
Richard T. Mulligan, Esquire on behalf of Freedom Mortgage Corporation at
mabk@harmonlaw.com
Richard B. Reiling, Esquire on behalf of Linda Reyes-Flores at Reilinglaw@aol.com
Harold B. Murphy, Esquire at bankruptcy@murphyking.com
John Fitzgerald, Esquire at USTPRegion01.BO.ECF@USDOJ.GOV

        I certify that I have mailed by first class mail, postage prepaid the documents
electronically filed with the Court on the following non-CM/ECF participants as listed on the
attached Notice List.

                                            Board of Trustees of
                                            32-34 Fairfield Street Condominium Trust
                                            MARCUS ERRICO EMMER BROOKS
                                            By its counsel,

                                            /s/ Ellen A. Shapiro
                                            Ellen A. Shapiro, Esq. (BBO#454000)
                                            eshapiro@meeb.com
                                            45 Braintree Hill Office Park, Suite 107
                                            Braintree, MA 02184
                                            (781) 843-5000
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                                         NOTICE LIST

AT&T
4331 Communications Drive. Floor 4W
Dallas, TX 75211-1300

AmSher Collection Services, Inc.
4524 Southlake Parkway, Ste. 15
Birmingham, AL 35244-3271

American Express
PO Box 981537
El Paso, TX 79998-1537

American Express National Bank
c/o Zwicker and Associates, PC
80 Minuteman Road
Andover, MA 01810-1008

American Express National Bank, AENB
c/o Zwicker and Associates, PC
80 Minuteman Road
PO Box 9043
Andover, MA 01810-0943

Ariana Fajardo Orshan, Esquire
99 NE 4th Street
Miami, FL 33132-2131

Astor Condominium Association Inc.
c/o First Service Residential
2590 N. 28th Terrace
Hollywood, FL 33020

Bank of the West
13505 California Street
Omaha, NE 68154-5247

Capital One Bank
PO Box 30281
Salt Lake City, UT 84130-0281

City of Boston
Treasury Dept. Bankruptcy Coordinator
One City Hall Plaza
Boston, MA 02201-1020

Claire Chapin
25 Olde Coach Road
Westborough, MA 01581-3106
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Columbus B&T/Synovus B
PO Box 120
Columbus, GA 31902-0120

Comcast
One Comcast Center
Philadelphia, PA 19103-2899

Constantine Karnis
40 Tilegate Gld.
Fairport, NY 14450-1718

Delray Beach Tac Collector
501 S. Congress Avenue
Delray Beach, FL 33445-4620

Dennis M. Bottone, Esquire
Bottone Reiling
63 Atlantic Avenue, 3rd Floor
Boston, MA 02110-3752

Eversource Electric
300 Cadwell Drvie
Springfield, MA 01104-1742

Ferris Development Group, LLC
325 Donald Lynch Blvd. #200
Marlborough, MA 01752-4711

Floridian Community Bank
14235 US Highway One
June Beach, FL 33408-145

Gaughen, Gaughen, Lane & Hernando, LLP
528 Broad Street
East Weymouth, MA 02189-1303

Oussan Alkoury, DMD
Simply Orthodontics
77 W. Main Street, #209
Hopkinton, MA 01748-1663

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

JPMorgan Chase Bank NA
Bankruptcy Mail Intake Team
700 Kansas Lane, Floor 1
Monroe, LA 71203-4774
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Joanne Graf
c/o Ross B. Gampel, Esquire
1728 Coral Way, Ste. 700
Miami, FL 33145-2794

Keith F. Backer, Esquire
Backer Aboud Poliakoff & Foelster
400 South Dixie Highway
Boca Raton, FL 33432-5518

LoanCare LLC
3637 Semtara Way, Ste. 303
Virginia Beach, VA 23452-4262

MDOR Child Support Unit
100 Cambridge Street
Boston, MA 02114-2509

Mark Schupara
40 Battery Street, PH 4
Boston, MA 02109-1906

Massachusetts Department of Revenue
PO Box 9564
Boston, MA 02114-9564

National Grid
Attn: Christopher Aronson, Esquire
40 Sylvan Road
Waltham, MA 02451-1120

Ocean City Lofts
c/o First Service Residential
1855 Griffin Road, Ste. A-330
Dania, FL 33004-2365

Radosveta Rizzo
9495 Graud Est. Way
Boca Raton, FL 33496-1027

Synovus Bank
c/o Thompson, O’Brien, Kemp and Nas
40 Technology Parkway South, Suite 300
Peachtree Corners, GA 30092-2924

Synovus Bank/Dovenmuele Mortgage
1 Corporate Drive, Sute. 360
Lake Zurich, IL 60047-8945

Town of Westborough
34 West Main Street
Westborough, MA 01581-1998
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Barry Wisner Chapin
34 Fairfield Street, Apt. 2
Boston, MA 02116-2587




                                          Board of Trustees of
                                          32-34 Fairfield Street Condominium Trust
                                          MARCUS ERRICO EMMER BROOKS
                                          By its counsel,

                                          /s/ Ellen A. Shapiro
                                          Ellen A. Shapiro, Esquire
                                          eshapiro@meeb.com
                                          BBO#454000
                                          45 Braintree Hill Office Park, Suite 107
                                          Braintree, MA 02184
Dated: April 15, 2020                     (781) 843-5000
